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5
      Attorney for Plaintiff
6     Andrew Scott Hernandez
7
                                          UNITED STATES DISTRICT COURT
8
                                         CENTRAL DISTRICT OF CALIFORNIA,
9                                              WESTERN DIVISION

10
                                          )                      Case No.: 2:21-cv-06426-RGK-GJS
11    ANDREW            SCOTT         an )
                                       HERNANDEZ,
      individual,                         )
12                                        )
                 Plaintiff,               )
           vs.                                                   EX PARTE APPLICATION REQUESTING
13                                        )
                                          )                      THAT THE COURT SET ASIDE ITS
14    CITY OF SANTA PAULA, and SCOTT      )                      ORDER DISMISSING ACTION FOR
      VARNER, and HEATHER VAN HEMERT and ))                      LACK OF PROSECUTION; OR, IN THE
15    DOES 1-10,                                                 ALTERNATIVE, TO DISMISS WITHOUT
                                          )                      PREJUDICE; DECLARATION OF ANDRE
16                                        )
                  Defendant.              )                      L. VERDUN
17                                        )
                                          )
18                                        )
                                          )
19                                        )

20             Andre L. Verdun submits the following declaration in favor of his request to set aside the order

21    dismissing this case for lack of prosecution; or in the alternative, to dismiss without prejudice:

22    I, Andre L. Verdun, declare:

23        1. I am the attorney for Plaintiff Andrew Scott Hernandez. I have personal knowledge of the

24    forgoing facts, and if called to testify, I could and if called, would testify consistent with the statements

25    below.

26        2. This case was filed on August 9, 2021.

27        3. On August 31, 2021, the Summons and Complaint was served on all parties. Plaintiff never filed

28    the proofs of service concerning the August 31, 2021 service.


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1         4. Since Plaintiff failed to file the proofs of service for the August 31, 2021 service, the Court
2     issued an OSC re dismissal for lack of prosecution on December 2, 2021.
3         5. Since there was a delay in filing the proofs of service, and there was no response by the
4     Defendants, Plaintiff re-served the summons and complaint and filed the proofs from the second service,
5     which took place on December 7, 2021. [See, ECF 12-14].
6         6. On December 20, 2021, the Court dismissed this case for lack of prosecution, citing the failure to
7     serve the Summons and Complaint by November 7, 2021.
8         7. In response to the order dismissing this case, I filed a declaration concerning the events
9     surrounding that service of process on August 31, 2021 and December 7, 2021, and the reasons for the
10    re-service of the Summons and Complaint are described in my declaration filed in this case at ECF 16,
11    filed on December 20, 2021. The Plaintiff attached the August 31, 2021 proofs of service to the ECF 16
12    filing, stating that it would file the August 31, 2021 proof of services if directed.
13        8. On December 22, 2021, the Court granted the Ex Parte request to set aside the dismissal,
14    ordering Plaintiff to file the Proofs of Service for August 31, 2021. The Court stated that failure to
15    comply would cause dismissal without further notice.
16        9. On the same day, December 22, 2021, Plaintiff filed the Proofs of Service for the August 31,
17    2021 service of the summons and complaint on all Defendants. While Plaintiff filed the proofs of service
18    by the deadline set by the Court, the proofs were defective in that while executed on August 31, 2021,
19    the proofs did not specify the date of service.
20        10. As a result, the Court dismissed this case for lack of prosecution on December 28, 2021.
21        11. Meanwhile, on December 22, 2021, I reached out to the City Attorney’s Office for the City of
22    Santa Paula, who stated that he was not aware of the lawsuit and had not received documents from either
23    service. On the December 22, 2021 call with Defendants’ attorney, I informed Defendants’ attorney that
24    I intended to immediately take default on all Defendants unless an Answer was filed immediately, or a
25    Joint Stipulation was filed seeking more time to file a response. I told Defendants’ attorney that I was
26    not operating off the December 7, 2021 service, but the August 31, 2021 service, unless a joint
27    stipulation was filed seeking time to respond.
28        12. Defendants agreed to submit a joint stipulation to extend time to answer, and Defendants filed

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1     that joint stipulation on December 29, 2021.
2         13. As a result of the Court’s order dismissing this action on December 28, 2021, my office filed
3     Amended Proofs of Service for the August 31, 2021 service, which correctly include the date of service.
4     ECF 23-25.
5         14. Plaintiff complied with the Court’s order that the Proofs of Service for the August 31, 2021
6     service be filed, and while the proofs of service were missing the date, the Plaintiff hopes the Court will
7     acknowledge that dismissal of this case with prejudice for filing a proof of service omitting the date is
8     unwarranted, considering the totality of the circumstances, including my efforts to reach out to the
9     Defendants attorneys and to have a stipulation provided to set a deadline to respond or for immediate
10    responses to the Complaint.
11        15. As it relates to the errors in the Proofs of Service, I did review the Proofs of Service, but I did not
12    catch that the process server omitted the dates for which service was completed. I noticed that the date
13    August 31, 2021 appeared on the document in two places, but not that it failed to specifically state
14    August 31, 2021 as the date the document was served. I relied on the process server to completely and
15    correctly complete the forms, as he has done for me numerous times in the past. Ultimately, it is my
16    responsibility alone to ensure documents are complete, and I will be sure not to repeat this failure to
17    catch this type of oversight in the future.
18        16. Therefore, I request that the Court set aside its order dismissing this case. I also request that the
19    Court grant the Joint Stipulation to set a firm deadline by which the Defendants must respond to the
20    Complaint, so that the case can move along.
21        17. In the alternative, Plaintiff request that the Court modify its order to dismiss the case without
22    prejudice.
23
24    I declare under the penalty of perjury that the forgoing is true and correct.
25
      Dated: January 4, 2022
26
                                                             ___/s/ Andre L. Verdun____
27                                                           Andre L. Verdun
28

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                                                        UNITED STATES DISTRICT COURT
1                                        CENTRAL DISTRICT OF CALIFORNIA,
2                                              WESTERN DIVISION

3
                                         )                         Case No.: 2:21-cv-06426-RGK-GJS
4     ANDREW            SCOTT        an )
                                      HERNANDEZ,
      individual,                        )
5                Plaintiff,              )
                                         )                         CERTIFICATE OF SERVICE
           vs.                           )
6
                                         )
7     CITY OF SANTA PAULA, and SCOTT     )
      VARNER, and HEATHER VAN HEMERT and )
8     DOES 1-10,                         )
                                         )
9                                        )
                  Defendant.             )
10                                       )
                                         )
11                                       )
                                         )
12                                       )

13    IT IS HEREBY CERTIFIED THAT: I, ANDRE L VERDUN, am a citizen of the United States and

14    am at least eighteen years of age. My business address is 1777 N Ventura Ave Ventura CA 93001. I am not a

15    party to the above-entitled action. I have caused service of the following document(s): EX PARTE

16    APPLICATION REQUESTING THAT THE COURT SET ASIDE ITS ORDER DISMISSING

17    ACTION FOR LACK OF PROSECUTION; OR, IN THE ALTERNATIVE, TO DISMISS

18    WITHOUT PREJUDICE; DECLARATION OF ANDRE L. VERDUN on the following parties by

19    electronically filing the foregoing with the Clerk of the District Court using its ECF System, which

20    electronically notifies them: John C Cotti john.cotti@bbklaw.com

21             I hereby certify that I have caused to be mailed the foregoing, by the

22    United States Postal Service, to the following non-ECF participants on this

23    case: NONE

24             I declare under penalty of perjury that the foregoing is true and correct.

25    Executed on January 6, 2022.

26
                                                               ___/s/ Andre L. Verdun____
27                                                             Andre L. Verdun
28

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                                                         ORDER
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